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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and THOMAS
   BAKER,                                                     Civil Action No. 3:17-cv-00072-NKM

                                   Plaintiffs,                     JURY TRIAL DEMANDED
          v.
   JASON KESSLER, et al.,
                                   Defendants.



    PLAINTIFFS’ MOTION IN LIMINE TO EXCLUDE DEFENDANTS FROM INTRODUCING
                         COLLATERAL SOURCE EVIDENCE

          Plaintiffs respectfully submit this Motion in Limine to preclude Defendants from offering

   evidence about, or otherwise referencing, any collateral source funds that Plaintiffs have received

   or may receive in the future.

                                            BACKGROUND

          Plaintiffs   seek to hold      Defendants—several white        supremacist and Neo-Nazi

   organizations, their leaders, members, and co-conspirators—accountable for the racially-

   motivated violence they planned and helped execute in Charlottesville, Virginia on August 11 and

   12, 2017. As a result of Defendants’ acts, Plaintiffs suffered severe physical, mental, and emotional

   injuries, as well as financial losses. To help offset those damages, certain Plaintiffs have received

   compensation, reimbursement, donations, or other funds from a variety of collateral sources,

   including, but not limited to: health insurance, workers’ compensation programs, and gifts from

   third-parties, including donations through online, crowd-funded campaigns. Based on the fact that

   some Defendants asked about certain Plaintiffs’ receipt of collateral source funds in discovery,
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   Plaintiffs anticipate that Defendants may seek to introduce evidence relating to those collateral

   funds.

                                             ARGUMENT

            Under the collateral source rule, “‘compensation from a collateral source should be

   disregarded in assessing tort damages.’” Sloas v. CSX Transp., Inc., 616 F.3d 380, 389 (4th Cir.

   2010) (quoting United States v. Price, 288 F.2d 448, 449–50 (4th Cir. 1961)). The central purpose

   of the rule is to ensure that a wrongdoer does not benefit because a victim’s losses have been

   compensated, in whole or part, “by some other party.” ML Healthcare Servs., LLC v. Publix Super

   Mkts., Inc., 881 F.3d 1293, 1303 (11th Cir. 2018); see also Scarborough v. Atl. Coast Line R. Co.,

   190 F.2d 935, 940 (4th Cir. 1951); Schickling v. Aspinall, 369 S.E.2d 172, 174 (Va. 1988);

   Restatement (Second) of Torts § 920A(2) (1979). Equally important, the rule also guards against

   perversely transforming a donation or gratuity intended to help a victim into a benefit to “the

   injurer instead.” Szedlock v. Tenet, 139 F. Supp. 2d 725, 736 (E.D. Va. 2001), aff’d, 61 F. App’x

   88 (4th Cir. 2003). To achieve those purposes, the rule prohibits a defendant from attempting to

   evade liability or reduce damages based on the “fact that [a] plaintiff may receive”—or has already

   received—“compensation from a collateral source (or free medical care).” Scarborough, 190 F.2d

   at 940; see Restatement (Second) of Torts, § 920A cmt. b.

            As an initial matter, there can be no doubt that the collateral source rule applies to

   Plaintiffs’ claims here. Indeed, Virginia has recognized and applied the rule for almost 150 years.

   See Schickling, 369 S.E.2d at 174; Acordia of Va. Ins. Agency, Inc. v. Genito Glenn, L.P., 560

   S.E.2d 246, 251 (Va. 2002). Federal courts, too, have long recognized and applied the rule to

   claims arising under federal law—including, as relevant here, claims brought under federal civil

   rights laws. See, e.g., Eichel v. N.Y. Cent. R. Co., 375 U.S. 253, 253, 255 (1963) (applying the rule

   to claims brought under a federal statute); Riffey v. K-VA-T Food Stores, Inc., 284 F. Supp. 2d 396,

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   396–97 (W.D. Va. 2003) (federal anti-discrimination statutes); Danner v. Int’l Freight Sys. of

   Wash., LLC, 855 F. Supp. 2d 433, 437, 475 (D. Md. 2012) (federal torts); Doe v. Darien Bd. of

   Educ., No. 3:11-cv-1581, 2015 U.S. Dist. LEXIS 158261, at *5–6 (D. Conn. Nov. 24, 2015)

   (federal civil rights statute). 1

           Under both Virginia and federal law, the collateral source rule sweeps broadly. It covers a

   wide array of sources, including private insurance, employment benefits, government programs,

   gratuities, and gifts from third persons, including donations made online. See Restatement

   (Second) of Torts § 920A cmts. b, c (1979) (listing categories, including insurance, employment

   and government benefits, and gifts); see also Acordia, 560 S.E.2d at 251 (citing same); Rayfield v.

   Lawrence, 253 F.2d 209, 214 (4th Cir. 1958) (medical services “paid for by a third person as a

   gift”); Stokes v. City of Visalia, No. 1:17-CV-01350-SAB, 2018 WL 1116548, at *6 (E.D. Cal.

   Feb. 26, 2018) (donations made through a “Go Fund Me page.”). Applied here, the collateral

   source rule prohibits Defendants from offering evidence about—or otherwise referencing—any

   insurance proceeds, compensation, reimbursement, or gifts that Plaintiffs have received or may

   receive from third parties. To hold otherwise would undermine the policies underlying the rule by

   permitting Defendants to benefit from the acts of generous third parties who intended to help the

   victims, not the injurers. Cf. Szedlock, 139 F. Supp. 2d at 736.

           The Federal Rules of Evidence compel the same straightforward result. See Riddle v. Exxon

   Transp. Co., 563 F.2d 1103, 1107 (4th Cir. 1977) (“Nothing in the . . . Federal Rules of Evidence

   authorizes departure from the [collateral source] rule.”). For starters, collateral source evidence is

   not relevant to a “fact [that] is of consequence in determining the action,” Fed. R. Evid. 401, and



   1 Because Virginia and federal law are consistent on the application of the collateral source rule ,
   this Court may rely on state law to the extent “necessary to furnish suitable remedies” for Plaintiffs’
   federal claims. See 42 U.S.C. § 1988(a).

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   must therefore be precluded under Federal Rule of Evidence 402. See Phillips v. W. Co. of N. Am.,

   953 F.2d 923, 930 (5th Cir. 1992) (“[E]vidence of collateral benefits simply has no

   relevance. . . .”); accord Reed v. E.I. du Pont de Nemours & Co., 109 F. Supp. 2d 459, 465 (S.D.

   W. Va. 2000). Moreover, even if collateral source evidence were somehow relevant, it would be

   inadmissible under Rule 403 because introducing such evidence would present a “substantial

   likelihood of prejudicial impact” that “clearly outweighs” any probative value it might have.

   Eichel, 375 U.S. at 255. Indeed, as many courts have explained, evidence that a plaintiff has

   already received some recompense for her injuries might cause the jury to believe that an award

   of damages would overcompensate her and thus lead the jury to reduce its damages award. See

   Phillips, 953 F.2d at 929–30; Brooks v. Cook, 938 F.2d 1048, 1052 (9th Cir. 1991). To avoid that

   unjust result, courts in the Fourth Circuit adopt a “strong policy” in favor of excluding collateral

   source evidence. Hawkins v. United Overseas Exp. Lines, Inc., 490 F. Supp. 138, 142 (D. Md.

   1980); see also, e.g., Reed v. Dep’t of Corr., 7:13-CV-00543, 2014 U.S. Dist. LEXIS 157822, at

   *5 (W.D. Va. Nov. 7, 2014) (“[C]ourts often decline to reduce a plaintiff’s . . . award by benefits

   received from another source . . . .”). That strong policy, which is consistent with the collateral

   source rule, is dispositive here: as a matter of law, Defendants may not introduce or reference any

   collateral source evidence.2

                                            CONCLUSION

          For the foregoing reasons, the Court should grant Plaintiffs’ Motion in Limine and preclude

   Defendants from offering evidence relating to, or otherwise referencing, collateral source funds

   that Plaintiffs have received or may receive in the future.


   2 The strong presumption against collateral source evidence applies even when the evidence is
   purportedly being offered “for purposes not directly related to the [collateral] payments
   themselves,” such as to show “the extent and duration of [a] plaintiff’s injury.” Hawkins, 490 F.
   Supp. at 141– 42 (collecting cases).

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     Dated: October 4, 2021                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 4, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:


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